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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                          §
                                                §                         CASE NO. 22-33814
AUTOVOCITY TRANSPORT, LLC                       §
                                                §
       Debtor                                   §                         CHAPTER 11


      EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, Autovocity Transport, LLC (“Debtor”) and files this Emergency Motion

for Authority to Use Cash Collateral pursuant to 11 U.S.C. § 363. The Debtor presents this motion

and respectfully represents the following:

       1.       On December 22, 2022 ("Petition Date"), the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 ("Bankruptcy

Code") and is now operating its business as a Debtor-In-Possession.
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       2.       The Debtor continues to manage and operate its business as Debtor-In-Possession

pursuant to §§1107 and 1108 of the Bankruptcy Code. No creditors' committee has been appointed

in this case by the United States Trustee.

       3.       A search in the Texas Secretary of State shows that allegedly secured positions are

held by (1) U.S. Small Business Administration; (2) MCA Servicing; (3) Samson Horus, (4)

Byzfunder, (5) Simply Funding, (6) Vivian Capital, (7) Vault 26 Capital, (8) Novus Capital, and

(9) G and G Funding Group LLC (see Exhibit “B”).

       4.       Debtor seeks to use the cash collateral for expenses set forth on Exhibit “A” and

any other unforeseeable expenses that may arise and pose a threat to the Debtor’s continued

operations.

       5.       Emergency Consideration: Emergency consideration is requested because the

Debtor depends on the use of cash collateral for payroll, supplies, and other general operating

expenses. If the Debtor is unable to use cash collateral, it will be forced to cease operations.

       6.       It is critical to the operation of the Debtor’s business, and to its reorganization

efforts, that it be permitted to pay these expenses using cash collateral. The Debtor produces

revenue from its transportation business and would use such revenue to pay the budgeted expenses.

       7.       Attached as Exhibit “A” is a 14-day and 30-day budget for the Debtor, showing

projected income and expenses. The amounts listed are reasonable and good faith estimations of

what the Debtor needs to spend each month to continue the operations of its business and

reorganize.

       8.       In addition to Exhibit A, the following Exhibit is also attached:

                       Exhibit B                      UCC Lien Search

                       Exhibit C                      Declaration of Rafael Dominguez
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       9.       Debtor requests authority to use the cash collateral for expenses set forth on Exhibit

“A” and any other unforeseeable expenses that may arise and pose a threat to the Debtor’s

continued operations. Specifically, the Debtor requests authority to use the cash collateral to pay

up to 110% of each expense in Exhibit A, so long as the total of cash collateral spent during the

month does not exceed by more than 5% of that month’s total in Exhibit A.

       WHEREFORE, PREMISES CONSIDERED, the Debtor requests this matter be set for an

emergency hearing and that upon hearing, the Court will enter an Interim Order authorizing the

Debtor’s use of the cash collateral in the amounts set forth in Exhibit “A” and for such other and

further relief as the Debtor may show itself justly entitled.



                                                       Respectfully submitted,

                                                       THE LANE LAW FIRM, PLLC
                                                       /s/Robert C. Lane
                                                       Robert C. Lane
                                                       State Bar No. 24046263
                                                       notifications@lanelaw.com
                                                       Joshua Gordon
                                                       State Bar No. 24091592
                                                       Joshua.gordon@lanelaw.com
                                                       6200 Savoy, Suite 1150
                                                       Houston, Texas 77036
                                                       (713) 595-8200 Voice
                                                       (713) 595-8201 Facsimile
                                                       PROPOSED COUNSEL FOR DEBTOR
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                             CERTIFICATE OF CONFERENCE

I, Attorney Joshua Gordon certify that on December 23, 2022, my office sent electronic
correspondence to the following parties who may have an interest in cash collateral:

U.S. Small Business Administration - chad.cowan@usdoj.gov

MCA Servicing - info@MCAservicingcompany.com

Samson Horus - info@samsonfunding.com

Byzfunder - uw@byzfunder.com

Simply Funding - info@simplyfunding.com

Vivian Capital - mose@viviancapitalgrp.com

Novus Capital - info@novuscapfunding.com

G and G Funding Group LLC - info@gandgfunding.com

                                                                   /s/ Joshua Gordon
                                                                   Joshua Gordon


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Emergency Motion for Authority to Use
Cash Collateral was served upon the US Trustee and to the parties listed on the service list below
and the attached mailing matrix either via electronic notice by the court’s ECF noticing system or
by United States first class mail, postage prepaid, on December 23, 2022:

Debtor:
Autovocity Transport, LLC
2925 Richmond Ave, Ste 1200
Houston, TX 77098

US Trustee:
Office of The United States Trustee
515 Rusk Street, Suite 3516
Houston, TX 77002


                                                                   /s/Robert C. Lane
                                                                   Robert C. Lane
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Label Matrix for local noticing                      AutoVocity Transport, LLC                            4
0541-4                                               2925 Richmond Ave. Suite 1200                        United States Bankruptcy Court
Case 22-33814                                        Houston, TX 77098-3143                               PO Box 61010
Southern District of Texas                                                                                Houston, TX 77208-1010
Houston
Fri Dec 23 07:41:38 CST 2022
G&G Funding                                          Internal Revenue Service                             Novus Capital Funding
57 West 57th Street 4th Floor                        P.O. Box 7346                                        7 Elmwood Drive Suite 301
New York, NY 10019-2827                              Philadelphia, PA 19101-7346                          New City, NY 10956-5144



Rafael Dominguez, Jr                                 Regus Management Group LLC                           Samson MCA LLC
419 E. 24th                                          15305 North Dallas Parkway 400                       17 State Street 6th Floor
Houston, TX 77008-2348                               Addison, TX 75001-6922                               New York, NY 10004-1501



Simply Funding LLC                                   Texas Workforce Commission                           The Lane Law Firm
45 Broadway Suite 2450                               PO BOX 12548, MC-008                                 6200 Savoy Dr Ste 1150
New York, NY 10006-3760                              Austin, TX 78711-2548                                Houston, TX 77036-3369



U.S. Small Business Administration                   US Trustee                                           Vault Capital
1545 Hawkins Blvd 202                                Office of the US Trustee                             506 2nd Ave Unit 2200
El Paso, TX 79925-2654                               515 Rusk Ave                                         Seattle, WA 98104-2359
                                                     Ste 3516
                                                     Houston, TX 77002-2604

Vivian Capital Group                                 Robert Chamless Lane
486 Market St                                        The Lane Law Firm
Newark, NJ 07105-2916                                6200 Savoy Drive
                                                     Ste 1150
                                                     Houston, TX 77036-3369




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)AutoVocity Transport, LLC                         End of Label Matrix
2925 Richmond Ave. Suite 1200                        Mailable recipients      16
Houston, TX 77098-3143                               Bypassed recipients       1
                                                     Total                    17
